     Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 1 of 14 Page ID #:1



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6
7
8                       UNITED STATES DISTRICT COURT
9                      CENTRAL DISTRICT OF CALIFORNIA

10
11     ISAAC MORENO, an individual,           Case No.: 5:16-CV-02109
12
13                 Plaintiff,                 COMPLAINT FOR DAMAGES
                                              AND INJUNCTIVE RELIEF FOR
14                                            VIOLATIONS OF:
15                    v.                      1.)  THE FAIR DEBT COLLECTION
                                                   PRACTICES ACT, 15 U.S.C. §
16                                                 1692, ET SEQ.;
17     MEDICREDIT, INC.; and J.J.             2.)  THE ROSENTHAL FAIR DEBT
                                                   COLLECTION PRACTICES
18     MAC INTYRE CO., INC.,                       ACT, CAL. CIV. CODE § 1788,
                                                   ET SEQ.;
19
                                              3.)  THE CALIFORNIA CONSUMER
20                 Defendants.                     CREDIT REPORTING
                                                   AGENCIES ACT, CAL. CIV.
21                                                 CODE § 1785, ET SEQ.
22
23                                            JURY TRIAL DEMANDED
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       COMPLAINT                                                   PAGE 1 OF 14
     Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 2 of 14 Page ID #:2



1                                      INTRODUCTION
2      1.   The United States Congress has found abundant evidence of the use of
3          abusive, deceptive, and unfair debt collection practices by many debt
4          collectors, and has determined that abusive debt collection practices contribute
5          to the number of personal bankruptcies, to marital instability, to the loss of
6          jobs, and to invasions of individual privacy. Congress wrote the Fair Debt
7          Collection Practices Act, (“FDCPA”) 15 U.S.C. § 1692 et seq., to eliminate
8          abusive debt collection practices by debt collectors, to insure that those debt
9          collectors who refrain from using abusive debt collection practices are not
10         competitively disadvantaged, and to promote consistent state action to protect
11         consumers against debt collection abuses.
12     2.   The California legislature has determined that the banking and credit system
13         and grantors of credit to consumers are dependent upon the collection of just
14         and owing debts and that unfair or deceptive collection practices undermine
15         the public confidence that is essential to the continued functioning of the
16         banking and credit system and sound extensions of credit to consumers. The
17         Legislature enacted the Rosenthal Fair Debt Collection Practices Act,
18         (“RFDCPA”) Cal. Civ. Code § 1788 et seq., to ensure that debt collectors
19         exercise this responsibility with fairness, honesty, and due regard for the
20         debtor’s rights and prohibit debt collectors from engaging in unfair or
21         deceptive acts and practices.
22     3.   Plaintiff, ISAAC MORENO, (“Plaintiff”) brings this lawsuit to challenge the
23         actions of Defendants, MEDICREDIT, INC., and J.J. MAC INTYRE CO.,
24         INC., (collectively as “Defendants”), with regard to Defendants’ unlawful
25         debt collection practices and reporting of erroneous and derogatory
26         information on Plaintiff’s consumer credit report as that term is defined by
27         Cal. Civ. Code § 1785, et seq. and Defendants’ willful and negligent failure to
28         properly investigate the disputes of Plaintiff concerning the errounous


       COMPLAINT                                                          PAGE 2 OF 14
     Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 3 of 14 Page ID #:3



1          information Defendants are reporting on Plaintiff’s credit, and Defendants’
2          failure to correct such, which Defendants knew or should have known was
3          erroneous and which caused Plaintiff damages.
4      4.   Plaintiff alleges as follows upon personal knowledge as to Plaintiff’s own acts
5          and experiences, and, as to all other matters, upon information and belief,
6          including investigation conducted by Plaintiff’s attorney.
7      5.   While many violations are described below with specificity, this Complaint
8          alleges violations of the statutes cited in their entirety.
9      6.   Unless otherwise stated, Plaintiff alleges that any violations by Defendants
10         were knowing and intentional, and that Defendants did not maintain
11         procedures reasonably adapted to avoid such violations.
12     7.   Unless otherwise indicated, the use of any Defendants’ name in this
13         Complaint includes all agents, employees, officers, members, directors, heirs,
14         successors, assigns, principals, trustees, sureties, subrogees, representatives,
15         and insurers of Defendants.
16     8.   Unless otherwise stated, all the conduct engaged in by Defendants occurred in
17         the State of California.
18                               JURISDICTION AND VENUE
19     9.   This action arises out of Defendants’ violations of: (i) The Fair Debt
20         Collection Practices Act, (“FDCPA”) 15 U.S.C. § 1692, et seq.; (ii) The
21         Rosenthal Fair Debt Collection Practices Act, (“RFDCPA”) Cal. Civ. Code §
22         1788, et seq.; and (iii) The California Consumer Credit Reporting Agencies
23         Act, (“CCRAA”) Cal. Civ. Code § 1785, et seq.
24     10.   Jurisdiction of this Court therefore arises pursuant to 28 U.S.C. § 1331, 15
25         U.S.C. § 1692k, and 28 U.S.C. § 1367 for supplemental state law claims.
26     11.   The Court has personal jurisdiction over Defendants as Defendants conduct
27         business within the State of California and have purposefully availed
28         themselves of the laws and markets of the State of California and this judicial


       COMPLAINT                                                          PAGE 3 OF 14
     Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 4 of 14 Page ID #:4



1          district.
2      12.   Venue is proper in the United States District Court, Central District of
3          California pursuant to 28 U.S.C. § 1391 as (i) Plaintiff resides in the County
4          of San Bernardino, State of California, which is within this judicial district;
5          and (ii) the conduct complained of herein occurred within this judicial district.
6                                            PARTIES
7      13.   Plaintiff, ISAAC MORENO, is a natural person who resides in the City of
8          Upland, County of San Bernardino, State of California, from whom a debt
9          collector sought to collect a consumer debt which was due and owing or
10         alleged to be due and owing from Plaintiff, and is a “debtor” as that term is
11         defined by Cal. Civ. Code § 1788.2(h). In addition, Plaintiff is a “consumer”
12         as that term is defined by 15 U.S.C. § 1692a(3) and Cal. Civ. Code §
13         1785.3(b).
14     14.   Defendant,   MEDICREDIT,       INC.   (“MEDICREDIT”),         is   a   Missouri
15         corporation.
16     15.   MEDICREDIT, in the ordinary course of business, regularly, on behalf of
17         itself and others, engages in “debt collection” as that term is defined by Cal.
18         Civ. Code § 1788.2(b), and is therefore a “debt collector” as that term is
19         defined by Cal. Civ. Code § 1788.2(c) and 15 U.S.C. § 1692a(6). Such debt
20         collection is conducted upon debts or alleged debts that are in default at the
21         time they are acquired and/or assigned to MEDICREDIT.
22     16.   Defendant, J.J. MAC INTYRE CO., INC., (“MAC INTYRE”), is a California
23         corporation.
24     17.   MAC INTYRE, in the ordinary course of business, regularly, on behalf of
25         itself and others, engages in “debt collection” as that term is defined by Cal.
26         Civ. Code § 1788.2(b), and is therefore a “debt collector” as that term is
27         defined by Cal. Civ. Code § 1788.2(c) and 15 U.S.C. § 1692a(6). Such debt
28         collection is conducted upon debts or alleged debts that are in default at the


       COMPLAINT                                                           PAGE 4 OF 14
     Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 5 of 14 Page ID #:5



1            time they are acquired and/or assigned to MAC INTYRE.
2      18.   This case involves money, property, or their equivalent, due or owing or
3            alleged to be due or owing from a natural person by reason of a consumer
4            credit transaction. As such, this action arises out of a “consumer debt” and
5            “consumer credit” as those terms are defined by Cal. Civ. Code § 1788.2(f)
6            and a “debt” as that term is defined by 15 U.S.C. § 1692a(5).
7      19.   The causes of action stated herein also pertain to Plaintiff’s “consumer credit
8            report” as that term is defined by Cal. Civ. Code § 1785.3(c), in that
9            inaccurate credit information was furnished by Defendants to a “consumer
10           credit reporting agency,” as that term is defined by Cal. Civ. Code §
11           1785.3(d), regarding specific transactions and/or experiences pertaining to
12           Plaintiff and Plaintiff’s credit worthiness, credit standing, and credit capacity.
13           Such credit information was used or was expected to be used, or collected in
14           whole or in part, for the purposes of serving as a factor in establishing
15           Plaintiff’s eligibility for, among other things, credit to be used primarily for
16           personal, family, household and employment purposes.
17     20.   Defendants are a partnership, corporation, association, or other entity, and are
18           therefore a “person” as that term is defined by Cal. Civ. Code § 1785.3(j).
19     21.   At all times relevant, Plaintiff was an individual residing within the State of
20           California.
21     22.   All correspondence from Defendant was sent to Plaintiff at an address located
22           within the State of California.
23     23.   All contractual agreements referenced herein were entered into and executed
24           within the State of California.
25                                  FACTUAL ALLEGATIONS
26     24.   On or about November of 2009, Plaintiff was involved in a motor vehicle
27           accident, which resulted in Plaintiff’s hospitalization.
28     ///


       COMPLAINT                                                              PAGE 5 OF 14
     Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 6 of 14 Page ID #:6



1      25.   As a result of his hospitalization, Plaintiff is alleged to have incurred a
2          medical debt of approximately $1000, owed to Pomona Valley Hospital
3          Medical.
4      26.   In early 2016, Plaintiff began the process of purchasing a new home for him
5          and his soon-to-be wife. To determine his class of eligibility for a mortgage,
6          Plaintiff ran his credit report on or about March of 2016 and found he had a
7          credit score of approximately 740.
8      27.   On or about August of 2016, while still attempting to buy a home, Plaintiff ran
9          his credit again and found his credit score had dropped to 640.
10     28.   Plaintiff’s August 2016 credit report now showed a recent and open “In
11         Collections” account, with a balance of $1,093, owed to the original creditor
12         Pomona Valley Hospital, (“the Debt”). Plaintiff alleges this alleged debt was
13         incurred during his November 2009 hospitalization, however the debt is being
14         erroneously reported with a “Date of Service” of November 2014.
15     29.   On or about August 2016, Plaintiff contacted Pomona Valley Hospital
16         regarding the alleged 2009 debt being reported on his credit. Pomona Valley
17         Hospital told Plaintiff the debt had been sold to MEDICREDIT in November
18         of 2014.
19     30.   Plaintiff contacted MEDICREDIT regarding the Debt. MEDICREDIT
20         informed Plaintiff the Debt had been placed with Jonathan Petherson Law
21         Firm, (the “Law Firm”).
22     31.   Plaintiff contacted the Law Firm regarding the Debt. The Law Firm informed
23         Plaintiff that the debt was past the statute of limitations and therefore the firm
24         would be sending the debt back to their client, MEDICREDIT.
25     32.   The Law Firm also confirmed the Debt was, in fact, incurred and initially
26         delinquent in 2009.
27     33.   Plaintiff thereon alleges on information and belief that the original creditor’s
28         records show an original delinquency of 2009 for the Debt. Plaintiff further


       COMPLAINT                                                             PAGE 6 OF 14
     Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 7 of 14 Page ID #:7



1            alleges that Defendants knew or should have known the information they
2            reported on Plaintiff’s credit was incomplete and/or inaccurate based on the
3            original creditor’s records including the underlying contract and account notes
4            for the Debt.
5      34.   Plaintiff contacted MEDICREDIT again to inform them the Debt being
6            reported was from 2009 and was past the statute of limitations, as confirmed
7            by the Law Firm. When presented with this information, MEDICREDIT
8            erroneously maintained the Debt was incurred and became delinquent in 2014.
9      35.   Sometime between March of 2016 and August of 2016, Defendants began
10           reporting a delinquent debt from Plaintiff’s 2009 hospitalization on Plaintiff’s
11           credit report, as initially delinquent in 2014.
12     36.   MEDICREDIT has continued to report this inaccurate information through the
13           date of this action being filed.
14     37.   On or before August 2016, MEDICREDIT began reporting to Experian, a
15           credit reporting agency as that term is defined by Cal. Civ. Code § 1785.3(d),
16           a debt to the original creditor, Pomona Valley Hospital Medical, with the
17           status of: “Collection Account. $1,093 past due as of Aug 2016,” and “First
18           Reported” in 8/2016. This information is scheduled to remain on Plaintiff’s
19           credit report until 2021 meaning that MEDICREDIT reported an initial
20           delinquency of 2014. This information is inaccurate as the Debt was
21           delinquent in 2009, years before the Debt’s assignment to Defendant in
22           November of 2014.
23     38.   MEDICREDIT knew, or should have known, the credit information they
24           reported was incomplete and/or inaccurate as: (i) the records of the original
25           creditor show the Debt was incurred and became delinquent in 2009 not 2014;
26           and (ii) Plaintiff specifically provided MEDICREDIT with notice that the
27           information they were reported was inaccurate.
28     ///


       COMPLAINT                                                            PAGE 7 OF 14
     Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 8 of 14 Page ID #:8



1      39.   MEDICREDIT has attempted to “re-age” the debt by reporting a more recent
2            delinquency date. By furnishing such inaccurate, incomplete, and/or
3            misleading information, Defendant effectively extended the time the debt may
4            be reported on Plaintiff’s credit report. This action has a greater derogatory
5            effect on Plaintiff’s credit score because more recent delinquencies are
6            allocated greater weight in calculating a consumer’s credit score.
7      40.   Through this conduct, MEDICREDIT has violated Cal. Civ. Code §
8            1785.25(a) by furnishing information to consumer credit reporting agency that
9            Defendant knew or should have known was inaccurate and/or incomplete.
10     41.   Through this conduct, MEDICREDIT has also violated 15 U.S.C. § 1692e by
11           making false, deceptive, and misleading representations in connection with
12           the collection of a debt, 15 U.S.C. § 1692e(2) by making false representations
13           regarding the character, amount or legal status of a debt, 15 U.S.C. § 1692e(8)
14           by communication or threatening to communicate to any person credit
15           information which is known or which should be known to be false, and 15
16           U.S.C. § 1692e(10) by using false representations or deceptive means to
17           collect or attempt to collect a debt. These sections are incorporated into the
18           RFDCPA through Cal. Civ. Code § 1788.17; thus, MEDICREDIT also
19           violated Cal. Civ. Code § 1788.17.
20     42.   On or before August 2016, MEDICREDIT began reporting to Trans Union, a
21           credit reporting agency as that term is defined by Cal. Civ. Code § 1785.3(d),
22           a debt to the original creditor, Pomona Valley Hospital Medical, as “In
23           Collection” with a “Placed for Collection” date of 03/09/2016. This
24           information is scheduled to remain on Plaintiff’s credit report until 2021
25           meaning that MEDICREDIT reported an initial delinquency of 2014. This
26           information is inaccurate as the Debt was delinquent in 2009, years before the
27           Debt’s assignment to Defendant in November of 2014.
28     ///


       COMPLAINT                                                            PAGE 8 OF 14
     Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 9 of 14 Page ID #:9



1      43.   MEDICREDIT knew, or should have known, the credit information they
2          reported was incomplete and/or inaccurate as: (i) the records of the original
3          creditor show the Debt was incurred and became delinquent in 2009 not 2014;
4          and (ii) Plaintiff specifically provided MEDICREDIT with notice that the
5          information they were reported was inaccurate.
6      44.   MEDICREDIT has attempted to “re-age” the debt by reporting a more recent
7          delinquency date. By furnishing such inaccurate, incomplete, and/or
8          misleading information, Defendant effectively extended the time the debt may
9          be reported on Plaintiff’s credit report. This action has a greater derogatory
10         effect on Plaintiff’s credit score because more recent delinquencies are
11         allocated greater weight in calculating a consumer’s credit score.
12     45.   Through this conduct, MEDICREDIT has violated Cal. Civ. Code §
13         1785.25(a) by furnishing information to consumer credit reporting agency that
14         Defendant knew or should have known was inaccurate and/or incomplete.
15     46.   Through this conduct, MEDICREDIT has also violated 15 U.S.C. § 1692e by
16         making false, deceptive, and misleading representations in connection with
17         the collection of a debt, 15 U.S.C. § 1692e(2) by making false representations
18         regarding the character, amount or legal status of a debt, 15 U.S.C. § 1692e(8)
19         by communication or threatening to communicate to any person credit
20         information which is known or which should be known to be false, and 15
21         U.S.C. § 1692e(10) by using false representations or deceptive means to
22         collect or attempt to collect a debt. These sections are incorporated into the
23         RFDCPA through Cal. Civ. Code § 1788.17; thus, MEDICREDIT also
24         violated Cal. Civ. Code § 1788.17.
25     47.   On or before August 2016, Defendant, J.J. MAC INTYRE CO., INC., (“MAC
26         INTYRE”) began reporting to Equifax, a credit reporting agency as that term
27         is defined by Cal. Civ. Code § 1785.3(d), an alleged debt to the original
28         creditor Pomona, Valley Hospital Medical, as “D-Unpaid” with a date of First


       COMPLAINT                                                          PAGE 9 OF 14
 Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 10 of 14 Page ID #:10



1          Delinquency of 11/2014. This information is inaccurate the Debt was
2          delinquent in 2009, years before the Debt’s assignment to Defendant in
3          November of 2014.
4    48.   MAC INTYRE has continued to report this inaccurate information through the
5          date of this action being filed.
6    49.   MAC INTYRE knew, or should have known, the credit information they
7          reported was incomplete and/or inaccurate as: (i) the records of the original
8          creditor show the Debt was incurred and became delinquent in 2009 not 2014.
9    50.   MAC INTYRE has attempted to “re-age” the debt by reporting a more recent
10         delinquency date. By furnishing such inaccurate, incomplete, and/or
11         misleading information, Defendant effectively extended the time the debt may
12         be reported on Plaintiff’s credit report. This action has a greater derogatory
13         effect on Plaintiff’s credit score because more recent delinquencies are
14         allocated greater weight in calculating a consumer’s credit score.
15   51.   Through this conduct, MAC INTYRE has violated Cal. Civ. Code §
16         1785.25(a) by furnishing information to consumer credit reporting agency that
17         Defendant knew or should have known was inaccurate and/or incomplete.
18   52.   Through this conduct, MAC INTYRE has also violated 15 U.S.C. § 1692e by
19         making false, deceptive, and misleading representations in connection with
20         the collection of a debt, 15 U.S.C. § 1692e(2) by making false representations
21         regarding the character, amount or legal status of a debt, 15 U.S.C. § 1692e(8)
22         by communication or threatening to communicate to any person credit
23         information which is known or which should be known to be false, and 15
24         U.S.C. § 1692e(10) by using false representations or deceptive means to
25         collect or attempt to collect a debt. These sections are incorporated into the
26         RFDCPA through Cal. Civ. Code § 1788.17; thus, MAC INTYRE also
27         violated Cal. Civ. Code § 1788.17.
28   ///


     COMPLAINT                                                           PAGE 10 OF 14
 Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 11 of 14 Page ID #:11



1    53.   The instances of Defendants furnishing false, inaccurate, and incomplete
2          credit information described herein has caused damage to Plaintiff’s credit
3          score, credit worthiness, credit standing, and credit capacity and has prevented
4          Plaintiff from obtaining extensions of credit including, but not limited to,
5          securing a mortgage for the purchase of a home.
6                   FIRST CAUSE OF ACTION FOR VIOLATIONS OF
7                  THE FAIR DEBT COLLECTION PRACTICES ACT
8                         (“FDCPA”) 15 U.S.C. § 1692 ET SEQ.
9                             [AGAINST ALL DEFENDANTS]
10   54.   Plaintiff incorporates by reference all of the above paragraphs of this
11         Complaint as though fully stated herein.
12   55.   The foregoing acts and omissions constitute numerous and multiple violations
13         of the FDCPA, including but not limited to each and every one of the above-
14         cited provisions of the FDCPA, 15 U.S.C. §§ 1692 et seq.
15   56.   As a result of each and every violation of the FDCPA, Plaintiff is entitled to
16         any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
17         the amount of up to $1,000.00 from each defendant pursuant to 15 U.S.C. §
18         1692k(a)(2); and reasonable attorney’s fees and costs pursuant to 15 U.S.C. §
19         1692k(a)(3).
20                SECOND CAUSE OF ACTION FOR VIOLATIONS OF
21         THE ROSENTHAL FAIR DEBT COLLECTION PRACTICES ACT
22                 (“RFDCPA”) CAL. CIV. CODE § 1788, ET SEQ.
23                            [AGAINST ALL DEFENDANTS]
24   57.   Plaintiff incorporates by reference all of the above paragraphs of this
25         Complaint as though fully stated herein.
26   58.   The foregoing acts and omissions constitute numerous and multiple violations
27         of the RFDCPA.
28   ///


     COMPLAINT                                                           PAGE 11 OF 14
 Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 12 of 14 Page ID #:12



1    59.   Cal. Civ. Code § 1788.17 incorporates the FDCPA (15 U.S.C. § 1692b
2        through 1692j). Therefore, each of stated violations of the FDCPA also
3        constitutes a violation of the RFDCPA (Cal. Civ. Code § 1788.17).
4    60.   As a result of each and every violation of the RFDCPA, Plaintiff is entitled to
5        any actual damages pursuant to Cal. Civ. Code § 1788.30(a); statutory
6        damages for knowing or willful violations in the amount of up to $1,000.00
7        from each defendant pursuant to Cal. Civ. Code § 1788.30(b); and reasonable
8        attorney’s fees and costs pursuant to Cal. Civ. Code § 1788.30(c).
9                 THIRD CAUSE OF ACTION FOR VIOLATIONS OF
10    THE CALIFORNIA CONSUMER CREDIT REPORTING AGENCIES ACT
11                 (“CCRAA”) CAL. CIV. CODE § 1785, ET SEQ.
12                           [AGAINST ALL DEFENDANTS]
13   61.   Plaintiff incorporates by reference all of the above paragraphs of this
14        Complaint as though fully stated herein.
15   62.   The foregoing acts and omissions constitute numerous and multiple
16        violations of the CCRAA.
17   63.   In the regular course of their business operations, Defendants routinely
18        furnish information to consumer credit reporting agencies pertaining to
19        transactions between Defendants and consumers, so as to provide information
20        regarding a consumer’s credit worthiness, credit standing, and credit
21        capacity.
22   64.   Because Defendants are a partnership, corporation, association, or other
23        entity, and are therefore a “person” as that term is defined by Cal. Civ. Code
24        § 1785.3(j), Defendants are and always were obligated to not furnish
25        information on a specific transaction or experience to any consumer credit
26        reporting agency if Defendants knew or should have known that the
27        information is incomplete or inaccurate, as required by Cal. Civ. Code §
28        1785.25(a).


     COMPLAINT                                                          PAGE 12 OF 14
 Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 13 of 14 Page ID #:13



1    65.   Defendants knew, or should have known, the credit information they reported
2        was incomplete and/or inaccurate as: (i) the records of the original creditor
3        show the Debt was incurred and became delinquent in 2009 not 2014; and (ii)
4        Plaintiff specifically provided MEDICREDIT with notice that the information
5        they were reported was inaccurate.
6    66.   The instances of Defendants furnishing false, inaccurate, and incomplete
7        credit information described herein has caused damage to Plaintiff’s credit
8        score, credit worthiness, credit standing, and credit capacity and has prevented
9        Plaintiff from obtaining extensions of credit including, but not limited to,
10       securing a mortgage for the purchase of a home.
11                                PRAYER FOR RELIEF
12   WHEREFORE, Plaintiff prays that judgment be entered against Defendants,
13   according to such causes of action stated against each Defendant, as follows:
14         •   An award of actual damages, in an amount to be determined at trial,
15            pursuant to 15 U.S.C. § 1692k(a)(1);
16         •   An award of statutory damages of $1,000.00, from each Defendant,
17            pursuant to 15 U.S.C. § 1692k(a)(2)(A);
18         •   An award of costs of litigation and reasonable attorney’s fees, pursuant
19            to 15 U.S.C. § 1692k(a)(3),
20         •   An award of actual damages, in an amount to be determined at trial,
21            pursuant to Cal. Civ. Code § 1788.30(a);
22         •   An award of statutory damages of $1,000.00, from each Defendant,
23            pursuant to Cal. Civ. Code § 1788.30(b);
24         •   An award of costs of litigation and reasonable attorney’s fees, pursuant
25            to Cal. Civ. Code § 1788.30(c);
26         •   An award of actual damages, in an amount to be determined at trial,
27            pursuant to Cal. Civ. Code § 1785.31(a) and 1785.31(a)(2)(A);
28         •   An award of statutory damages of $5,000.00 per violation, pursuant to


     COMPLAINT                                                         PAGE 13 OF 14
 Case 5:16-cv-02109-ODW-DTB Document 1 Filed 10/04/16 Page 14 of 14 Page ID #:14



1             Cal. Civ. Code § 1785.31(a)(2)(B);
2          •   An award of costs of litigation and reasonable attorney’s fees, pursuant
3             to Cal. Civ. Code § 1785.31(a)(1) and 1785.31(a)(2)(A);
4          •   That the Court preliminarily and permanently enjoin Defendants from
5             engaging in the unlawful debt collection and credit reporting practices
6             stated herein;
7          •   Any and all other relief that this Court deems just and proper.
8
9    Dated: October 4, 2016                        Respectfully submitted,
10
                                                   SINNETT LAW, APC.
11
12                                                 BY: /S/ WAYNE A. SINNETT .
                                                   WAYNE A. SINNETT, ESQ.
13
                                                   ATTORNEY FOR PLAINTIFF
14
15
                                     TRIAL BY JURY
16
17   67.   Pursuant to the Seventh Amendment to the Constitution of the United States
18        of America, Plaintiff is entitled to, and demands, a trial by jury.
19
20   Dated: October 4, 2016                         Respectfully submitted,
21
                                                    SINNETT LAW, APC.
22
23                                                  BY: /S/ WAYNE A. SINNETT .
                                                    WAYNE A. SINNETT, ESQ.
24
                                                    ATTORNEY FOR PLAINTIFF
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     COMPLAINT                                                            PAGE 14 OF 14
